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18
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19
      American Encore, an Arizona non-profit Case No.: 2:24-cv-01673-PHX-MTL
20
      corporation; Karen Glennon, an Arizona
21    individual; America First Policy Institute, a
      non-profit corporation,
22                                                  PLAINTIFFS’ MOTION FOR
                                                    PRELIMINARY INJUNCTION
23                         Plaintiffs,              REGARDING EPM VOTE
      vs.                                           NULLIFICATION PROVISION
24
      Adrian Fontes, in his official capacity as
25
      Arizona Secretary of State; Kris Mayes, in her
26    official capacity as Arizona Attorney
      General; Katie Hobbs, in her official capacity Oral Argument   Scheduled   For
27                                                   September 12
      as Governor or Arizona,
28    Defendants.
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 1          Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs American Encore, Karen

 2   Glennon, and America First Policy Institute (“AFPI”) (collectively, “Plaintiffs”)

 3   respectfully move for a preliminary injunction prohibiting implementation and

 4   enforcement of the 2023 Elections Procedures Manual’s (“EPM” or “2023 EPM”) Vote

 5   Nullification Provision. See 2023 EPM Ch. 13, § II(B)(2), p. 252.

 6                                        INTRODUCTION

 7          The Vote Nullification Provision challenged here is one of the most aggressive—

 8   and unusual—disenfranchisement laws in the United States. To Plaintiffs’ knowledge, not

 9   even a single sister state has adopted anything close to it.
            Under the Vote Nullification Provision, a tiny number of governmental actors can
10
     effect mass disenfranchisement. If a majority of a county board of supervisors fails or
11
     refuses to certify election results, the votes of each and every one of the voters in that
12
     County are simply thrown out entirely. The scale of that potential disenfranchisement is
13
     unprecedented: for example, through the non- or malfeasance of a mere 3 members of the
14
     Maricopa Board of Supervisors, all 2.4. million active registered voters in that county could
15
     be disenfranchised: roughly an 800,000-to-1 ratio.
16
            Unsurprisingly, such sweeping disenfranchisement of faultless voters does not
17
     comport with the Constitution. Under the Supreme Court’s Anderson-Burdick framework,
18
     the Vote Nullification Provision is subject to strict scrutiny because it imposes a severe
19
     burden on the right to vote—indeed, the severest possible: total disenfranchisement. And
20
     the provision flunks strict scrutiny because it is not narrowly tailored: there are multiple
21
     other alternatives to ensuring certification of election results that do not rely on wholesale
22
     disenfranchisement of all voters in an entire county.
23
            This Court should therefore issue a preliminary injunction against enforcement of
24
     the Vote Nullification Provision.
25
                                         LEGAL STANDARD
26
            In general, a party seeking a preliminary injunction must demonstrate that “(1) he is
27
     likely to succeed on the merits of his claim, (2) he is likely to suffer irreparable harm absent
28
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 1   the preliminary injunction, (3) the balance of equities tips in his favor, and (4) a preliminary
 2   injunction is in the public interest.” Baird v. Bonta, 81 F.4th 1036, 1040 (9th Cir. 2023)
 3   (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). When, as here, “the
 4   nonmovant is the government, the last two Winter factors “‘merge.’” Id. (citation omitted).
 5          “The first factor ‘is a threshold inquiry and is the most important factor.’” Id.
 6   (quoting Env't Prot. Info. Ctr. v. Carlson, 968 F.3d 985, 989 (9th Cir. 2020)). And “[i]t is
 7   well-established that the first factor is especially important when a plaintiff alleges a
 8   constitutional violation and injury.” Id. Consequently, “[i]f a plaintiff in such a case shows
 9   he is likely to prevail on the merits, that showing usually demonstrates he is suffering
10   irreparable harm no matter how brief the violation.” Id. Additionally, such a plaintiff’s
11   “likelihood of succeeding on the merits also tips the public interest sharply in his favor
12   because it is ‘always in the public interest to prevent the violation of a party's constitutional
13   rights.’” Id. (citation omitted).
14                                         BACKGROUND1
15          In Arizona, the officer in charge of elections for each county—usually a county

16   recorder—is responsible for tabulating votes, and sending those unofficial county election

17   returns to their respective county board of supervisors. See generally A.R.S. §§ 16-621,

18   16-622, 16-624. In turn, the county boards are tasked with conducting an official canvas,

19   declaring results, and certifying those results. See generally A.R.S. §§ 11-251(3), 16-642,

20   16-645, 16-646(C), 16-647. The Secretary then uses those official certifications from

21   county boards to certify the results for the statewide elections. See generally A.R.S. §§

22   16-642(A)(3), 16-643; 16-645, 16-648. In recent elections, this process has been somewhat

23   turbulent.

24          For example, following the 2022 general election, the Cochise County Board of

25   Supervisors refused to certify the election results for Cochise County for a period of time,

26   resulting in a delay of the Secretary’s certification. See Declaration of Brennan A.R. Bowen

27
     1
28     The facts of this case are also detailed in Plaintiffs’ Preliminary Injunction Motion
     regarding the Speech Striction, (ECF. No. 14), and are incorporated herein by reference.

                                                      2
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 1   (attached hereto as Ex. A), at ¶ 3, Attachment 1. Eventually, the Cochise County Board
 2   certified the results, as did the Secretary. Id. at ¶ 4, Attachment 2.
 3          Since then, the Arizona Attorney General has indicted two of the Cochise County
 4   Supervisors for their role in delaying the certification. Id. at ¶ 5, Attachment 3. Those
 5   prosecutions are ongoing. Id. at ¶ 6, Attachment 4.
 6          Likely responding to these events in 2022, the 2023 EPM now includes two
 7   provisions regarding canvassing elections results that are almost certainly aimed at
 8   addressing the issues that arose in 2022 with Cochise County: (1) the EPM imposes on
 9   County Boards of Supervisors “a nondiscretionary duty to canvass the returns as provided
10   by the County Recorder or other officer in charge of elections” and removes from the
11   County Boards any “authority to change vote totals, reject the election results, or delay
12   certifying results without express statutory authority or court order,” EPM Chp. XII,
13   § 2(A)(2); and (2) the EPM also imposes a similar non-discretionary canvassing duty on
14   the Secretary, but also provides that “[i]f the official canvass of any county has not been
15   received by [the] deadline, the Secretary of State must proceed with the state canvass
16   without including the votes of the missing county,” EPM Chp. 13, § II(B)(2) (emphasis
17   added); see also 2019 EPM, (attached hereto as Ex. E), at pp. 243 (containing no
18   requirement to throw out the votes for an entire county if that county’s Board of
19   Supervisors fails to timely canvas and certify election results).
20          Only the second mandate, the Vote Nullification Provision, is challenged here. In
21   effect, that provision mandates that all votes cast by all voters in a county will not be
22   counted whatsoever if the Board of Supervisors for that county fails or refuses to certify
23   the canvas election results for that county.
24          Accordingly, where a county Board of Supervisors refuses or fails to certify election
25   results by the applicable deadline, the Vote Nullification Provision mandates the complete
26   disenfranchisement of every voter in that county. It does so even where the voters in that
27   county have complied with all requirements for exercising their constitutional right to vote
28   (e.g., voting before polls close, presenting identification for in-person voting or signing


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 1   their mail-in ballot etc.). That disenfranchisement extends to every single vote cast by the
 2   voter from Presidential Electors all the way down to whether to retain a justice of the peace.
 3          Fearing that the Secretary will act on this provision and disenfranchise numerous
 4   voters—including Plaintiffs and their members—Plaintiffs sent the Secretary a letter on
 5   June 18, 2024, asking the Secretary to disavow enforcement of the Vote Nullification
 6   Provision. See Reinforcement Letter (attached hereto as Ex. B). They Secretary Responded
 7   on July 31, 2024, essentially talking right passed the Plaintiffs’ concerns, and asserting that
 8   “the Secretary cannot and will not” “disavow this nondiscretionary statutory duty.” See
 9   Secretary’s Response Letter (attached hereto as Ex. C), at 2. The Secretary thus appears to
10   believe that he has a statutory duty to disenfranchise voters if a county is dilatory in
11   canvassing and certifying elections results. See generally id.
12                                          ARGUMENT
13    I.    PLAINTIFFS HAVE STANDING TO CHALLENGE THE VOTE NULLIFICATION
            PROVISION
14
            Plaintiffs here have Article III standing to challenge the Vote Nullification Provision
15
     both because (1) it inflicts current and ongoing injury and (2) Plaintiffs face a credible
16
     threat of enforcement—i.e., complete disenfranchisement—under that provision.
17
            A. The Vote Nullification Provision Is Inflicting Current And Ongoing Injury
18
            Here Plaintiffs have standing because the Vote Nullification Provision inflicts
19
     current and ongoing injury upon voters, including Ms. Glennon and thousands of AFPI’s
20
     members. It does so by changing the nature of their right to vote—including the right to
21
     have their votes counted—from an unqualified right to one subject to potential
22
     disqualification by the actions of governmental officials. By downgrading voters’ right to
23
     vote, the Vote Nullification Provision inflicts current and ongoing injury that establishes
24
     Plaintiffs’ standing here. See Complaint, at ¶¶ 19–21, 29; see also Rumsfeld v. FAIR, 547
25
     U.S. 47, 52 n.2 (2006) (“[T]he presence of one party with standing is sufficient to satisfy
26
     Article III's case-or-controversy requirement.”).
27
            Without the Vote Nullification Provision, voters have an essentially absolute right
28


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 1   to vote—and have those votes counted—so long as they comply with applicable rules. For
 2   example, before the 2023 EPM, so long as in-person voters showed voter identification,
 3   followed ballot instructions, and cast a ballot by poll-close time, their right to have that
 4   vote counted was unconditional. Similarly, mail-in voters that signed their ballot affidavit,
 5   followed ballot instructions, and ensured receipt of their ballots by the close of polls, had
 6   a vested right to have their vote counted that cannot be taken away by a governmental
 7   official.
 8          In sum, before the 2023 EPM, no elected official in Arizona could disenfranchise
 9   voters and refuse to count their votes. Voters that followed applicable procedures had an
10   unconditional right to have their vote counted that could not be obstructed by any elected
11   official.
12          The Vote Nullification Provision changes all of that. Now, through misfeasance or
13   failure to assemble a quorum, all votes in Arizona are subject to potential nullification if
14   the applicable county Board of Supervisors fails or refuses to certify election results. See
15   EPM at 252. Indeed, the Vote Nullification Provision ensures those voters’ votes will not
16   be counted by creating a non-discretionary mandate for the Secretary to throw out all such
17   affected votes. Id. (“[T]he Secretary of State must proceed with the state canvass without
18   including the votes of the missing county[.]” (emphasis added)).
19          By downgrading voters’ right to vote from (1) an unqualified right as long as
20   applicable rules are followed to (2) a conditional right, subject to potential disqualification
21   by the actions of elected officials, the Vote Nullification Provision inflicts cognizable
22   injury that establishes Article III standing now. Put differently, the Plaintiffs need not wait
23   for their vote to be disqualified to be harmed because they are harmed by the present
24   downgrading of their unqualified right to vote to a conditional right to vote.
25          Indeed, the harm at issue here is akin to the harm inflicted by felony-
26   disenfranchisement laws. In those cases, a would-be voter who is convicted of a felony is
27   not permitted to vote, but may be allowed to do so based on whether a Governor decides
28   to restore his voting rights. Such felony disenfranchisement laws similarly downgrade


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 1   citizens’ right to vote from unqualified to conditional based on the actions (or inaction) of
 2   a government official (specifically, the condition being a favorable exercise of discretion
 3   by the relevant Executive).
 4          Federal courts have held that voters suffering such injury have standing to challenge
 5   those felony disenfranchisement laws based on that harm: degrading the right to vote by
 6   making it subject to the actions of governmental officials. For example, in Williams v.
 7   Taylor, the Fifth Circuit considered a challenge to Mississippi’s felony disenfranchisement
 8   statute, which disqualified convicted felons from voting unless the governor granted relief
 9   through a pardon. 677 F.2d 510 (5th Cir. 1982). There, the Fifth Circuit held that the
10   plaintiff lacked standing to challenge the pardon procedure, because he had not “tried to
11   procure a pardon from the governor.” Id. at 517-18. But, as to the felony
12   disenfranchisement law that relegated the plaintiffs’ previously unqualified right to vote
13   into one conditional on actions by governmental officials, the Fifth Circuit reached those
14   claims on the merits—considering Article III standing to be so obvious that it need not be
15   analyzed (as it was for the pardon procedure challenge). Id. at 514-17.
16          Similarly, the Eastern District of Virginia recognized an equivalent basis for
17   standing in El-Amin v. McDonnell, No. 3:12-cv-00538-JAG, 2013 U.S. Dist. LEXIS 40461
18   (E.D. Va. Mar. 22, 2013). As in Williams v. Texas, the devaluation of El-Amin’s right to
19   vote to one conditional on how governmental officials exercised their authority accorded
20   standing to challenge the felony disenfranchisement statute effecting that downgrade. See
21   id. at *15 (“While El-Amin is correct that Virginia has deprived him of his voting rights,
22   this injury permits him only to challenge the deprivation itself, which he does in Count I.”).
23          Here, Plaintiffs have standing on the same essential basis: the downgrading of their
24   right to vote from unconditional to conditional, based on how governmental officials act.
25   Ms. Glennon’s right to vote is directly affected in this manner, thereby establishing Article
26   III standing. (See ECF No. 13-4, at ¶¶1–4) (providing that Ms. Glennan resides in Arizona
27   and is registered to vote and intends to vote in Arizona). And AFPI has over 2,600 active
28   members—the majority of whom are registered voters—who are widely distributed


                                                     6
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 1   throughout the State and reside in all 15 of Arizona’s counties. See Catharine Cypher
 2   Declaration (attached hereto as Ex. D), at ¶¶ 8–9. It therefore has representational standing
 3   based on the injury to its affected members. See, e.g., Hunt v. Wash. State Apple Advert.
 4   Comm’n, 432 U.S. 333, 342 (1977).
 5          Plaintiffs also have standing based on precedent involving signature-mismatch
 6   cases. These cases involve election officials who have employed procedures that create a
 7   risk of wrongfully disqualifying votes based on putative (but erroneous) signature
 8   mismatches. Federal courts have broadly held that plaintiffs have Article III standing to
 9   challenge such potential wrongful vote disqualifications where state election officials fail
10   to provide adequate cure opportunities. See, e.g., Democratic Exec. Comm. v. Detzner, 347
11   F. Supp. 3d 1017, 1024-25 (N.D. Fla. 2018) aff’d 915 F.3d 1312 (11th Cir. 2019); Martin
12   v. Kemp, 341 F. Supp. 3d 1326, 1333-35 (N.D. Ga. 2018); Frederick v. Lawson, 481 F.
13   Supp. 3d 774, 786-90 (S.D. Ind. 2020); see also Ariz. Democratic Party v. Hobbs, 485 F.
14   Supp. 3d 1073, 1085-87 (D. Ariz. 2020) rev’d on other grounds 18 F.4th 1179, 1193 (9th
15   Cir. 2021) (same for failure to provide opportunity to cure missing signatures post-
16   election).
17          Here, Plaintiffs similarly challenge a provision that potentially subjects their votes
18   to potential disqualification based on the wrongful actions of governmental officials—i.e.,
19   refusing or failing to certify election results.
20          Finally, Plaintiffs here have Article III standing under the principles underlying First
21   Amendment permit cases, where the right to free speech is downgraded by making it
22   subject to actions of governmental officials as to whether they approve a permit. The Ninth
23   Circuit has recognized that the institution of such permit requirements—which relegate the
24   right to free speech to one dependent on how governmental officials act—creates
25   cognizable injury that supplies standing to challenge those permit requirements. See, e.g.,
26   Taniguchi v. Schultz, 303 F.3d 950, 957 (9th Cir. 2002) (Ninth Circuit precedents recognize
27   that plaintiffs “have standing to challenge a permit requirement, even though they did not
28   apply for permits, because applying for a permit would have been futile” (cleaned up));


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 1   Stewart v. San Francisco, No. 22-16018, 2023 U.S. App. LEXIS 3811, at *2 n.3 (9th Cir.
 2   Feb. 17, 2023) (recognizing Article III standing to challenge statute that “establishe[d] a
 3   permit requirement in advance of public speech and ban[ned] an instrumentality of speech
 4   absent a permit.’” (citation omitted)).
 5            B. Plaintiffs Face A Credible Threat Of Enforcement of the Challenged
                 Provision
 6
 7            Plaintiffs also have Article III standing because they face a credible threat of

 8   enforcement of the Vote Nullification Provision against them and their members. That

 9   provision imposes a non-discretionary mandate that the Secretary shall not count any vote

10   of a county without certified results. See EPM at 252 (“If the official canvass of any county

11   has not been received by this deadline, the Secretary of State must proceed with the state

12   canvass without including the votes of the missing county.” (emphasis added)). So, if a

13   county fails or refuses to certify its election results, it is all-but certain that the Vote

14   Nullification Provision will be enforced to disenfranchise voters.

15            The threat of enforcement is further demonstrated by the Secretary’s refusal to

16   disavow enforcement of the Vote Nullification Provision. Plaintiffs’ counsel sent the
     Secretary a letter on July 18, requesting that he disavow enforcement of the provision by
17
     COB on July 26. Ex. B. Secretary Fontes responded after that deadline and refused to
18
     disavow enforcement, stating that “the Secretary cannot and will not” “disavow this
19
     nondiscretionary statutory duty” to canvas election results. Ex. C, at 2. Read in context
20
     with Plaintiffs’ specific request that the Secretary disavow enforcement of the Vote
21
     Nullification Provision, the Secretary’s response cannot be understood as anything other
22
     than a refusal to disavow such enforcement. Compare Ex. B, with Ex. C. Despite the
23
     Secretary’ circumlocution, the Secretary’s intent to enforce that challenged provision is
24
     clear.
25
              A credible threat of enforcement thus exists here as “the state’s refusal to disavow
26
     enforcement of [the challenged law] against [plaintiffs] during this litigation is strong
27
     evidence that the state intends to enforce the law and that [plaintiffs’] members face a
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 1   credible threat.” California Trucking Ass’n v. Bonta, 996 F.3d 644, 653 (9th Cir. 2021);
 2   see also Susan B. Anthony List v. Driehaus, 573 U.S. 149, 165 (2014) (finding credible
 3   threat of future enforcement where “respondents have not disavowed enforcement if
 4   petitioners make similar statements in the future”).
 5           The risk of potential disenfranchisement under the Vote Nullification Provision is
 6   further demonstrated by the dispute in Cochise County in 2022, in which the county board
 7   of supervisors did refuse to certify the results, provoking an electoral crisis. See supra at
 8   2–3. Indeed, that standoff ironically is almost certainly the motivation behind the
 9   Secretary’s creation of the Vote Nullification Provision. That the Secretary did so indicates
10   his own view that the risk of recurrence of a non-certification incident is material. So too
11   does the Attorney General’s criminal prosecution of the Cochise County supervisors that
12   refused to certify results, see supra at 3, demonstrating her evident view that future
13   deterrence is necessary to address the risk of recurrence.
14           Notably, even the risk of potential disenfranchisement is enough to support Article
15   III standing to bring an Anderson-Burdick challenge. See, e.g., Democratic Exec. Comm.
16   of Fla. v. Lee, 915 F.3d 1312, 1319 (11th Cir. 2019) (recognizing cognizable injury under
17   Anderson-Burdick doctrine because a statute “subjects vote-by-mail and provisional
18   electors to the risk of disenfranchisement” (emphasis added)). That risk is manifest here—
19   particularly given the actions of Cochise County in 2022, the Secretary’s refusal to disavow
20   enforcement of the Vote Nullification Provision in 2024, and the Attorney General’s
21   criminal prosecution of Cochise supervisors to attempt to deter future certification refusals.
22   II.     THE VOTE NULLIFICATION PROVISION IS UNCONSTITUTIONAL UNDER THE
             ANDERSON-BURDICK DOCTRINE
23
             The Vote Nullification Provision is an unconstitutionally severe burden on the right
24
     to vote under the Supreme Court’s Anderson-Burdick doctrine. Because it inflicts outright
25
     disenfranchisement on voters—who are faultless—by the actions of third parties, it inflicts
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     a severe burden that triggers strict scrutiny. And the Vote Nullification Provision fails
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     under strict scrutiny because it is not narrowly tailored—particularly as multiple, obvious
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 1   alternatives to outright disenfranchisement are available to address issues of non-
 2   certification of election results.
 3          A. Overview of the Anderson-Burdick Doctrine
 4          Challenges to electoral statutes and regulations that allege an unconstitutional
 5   burden are governed by the Anderson-Burdick framework. That doctrine creates “a sliding
 6   scale test, where the more severe the burden, the more compelling the state’s interest must
 7   be, such that ‘a state may justify election regulations imposing a lesser burden by
 8   demonstrating the state has important regulatory interests.’” Ariz. Green Party v. Reagan,
 9   838 F.3d 983, 988 (9th Cir. 2016) (citation omitted).
10          Under the Anderson-Burdick framework, “an election regulation that imposes a
11   severe burden is subject to strict scrutiny.” Nader v. Brewer, 531 F.3d 1028, 1035 (9th Cir.
12   2008). In contrast, ‘“[l]esser burdens trigger less exacting review, and a State’s important
13   regulatory interests will usually be enough to justify reasonable, nondiscriminatory
14   restrictions.”’ Angle v. Miller, 673 F.3d 1122, 1132 (9th Cir. 2012) (quoting Prete, 438
15   F.3d at 961) (cleaned up).
16          B. The Vote Nullification Provision Imposes a Severe Burden on the Right to
17             Vote

18          The Vote Nullification Provision imposes a severe burden on the right to vote—

19   indeed the severest possible burden: total disenfranchisement. And it does so not based on

20   any fault of the disenfranchised voters, but instead due to the actions of third-party officials

21   over whom the voters have no control. Cf. Arizona Democratic Party v. Hobbs, 18 F.4th

22   1179, 1188 (9th Cir. 2021) (holding that burden was minimal where it was the product of

23   voters’ “own negligence only”).

24          In the context of voting rights, “the basic truth [is] that even one disenfranchised

25   voter—let alone several thousand—is too many[.]” League of Women Voters of N.C. v.

26   North Carolina, 769 F.3d 224, 244 (4th Cir. 2014). For that reason, “disenfranchising

27   thousands of eligible voters … amount[s] to a severe burden on the right to vote.” Florida

28   Democratic Party v. Detzner, No. 16-cv-607, 2016 U.S. Dist. LEXIS 143620, at *18 (N.D.


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 1   Fla. Oct. 16, 2016); see also Stewart v. Blackwell, 444 F.3d 843, 869 (6th Cir. 2006)
 2   vacated as moot 473 F.3d 692 (6th Cir. 2007) (holding that burden was “severe” where
 3   unreliable systems resulted in thousands of votes not being counted). Here, however, the
 4   number of voters that could be disenfranchised is in the millions. Indeed, under the Vote
 5   Nullification Provision, any three members of the Maricopa Board of Supervisors
 6   collectively possess the ability to disenfranchise all 2.4 million registered active voters in
 7   the county. See Northeast Ohio Coal. v. Husted, 696 F.3d 580, 593 (6th Cir. 2012)
 8   (affirming holding that policy that disqualified approximately 0.248% of ballots imposed
 9   a “substantial burden on provisional voters”); Lee, 915 F.3d at 1319-22 (holding that
10   signature verification policy that affected “only about 4,000 ballots … [i.e.,] less than 5
11   hundredths of a percent of the more than 9 million total ballots cast” imposed “at least a
12   serious burden on the right to vote”).
13          The burden here is particularly severe because the potential vote disqualification is
14   not the product of any fault of the voter and instead the product of actions by third parties.
15   “It is one thing to fault a voter if she fails to follow instructions…. But it is quite another
16   to blame a voter when she may have done nothing wrong[.]” Lee, 915 F.3d at 1324–25;
17   accord id. at 1321 (holding that failure to provide an opportunity to cure a signature
18   mismatch imposed “at least a serious burden on the right to vote”). But the Vote
19   Nullification Provision is just that “quite another” thing that the Lee Court cautioned
20   against: throwing out votes even where the voters themselves “have done nothing wrong.”
21   Id. at 1325. By doing so, it imposes a severe burden on the right to vote.
22          C. The Vote Nullification Provision Is Not Narrowly Tailored
23          Even assuming that the Vote Nullification Provision was supported by a compelling
24   state interest (an issue on which Defendants have the burden of proof), it fails strict scrutiny
25   because it is not narrowly tailored. Indeed, there are multiple, obvious alternatives to mass
26   disenfranchisement for the State to achieve its objectives. To the extent that complete
27   disenfranchisement en masse is ever permitted, it could only be as a last resort rather than
28   the first. But the Vote Nullification Provision rejects multiple alternatives and reaches first


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 1   for the cudgel of disenfranchisement to “motivate” recalcitrant supervisors. In doing so,
 2   the Vote Nullification Provision is not narrowly tailored and thus unconstitutional. See,
 3   e.g., Boos v. Barry, 485 U.S. 312, 329 (1988) (holding that a regulation was “not narrowly
 4   tailored [because] a less restrictive alternative [wa]s readily available”); Nader v. Brewer,
 5   531 F.3d 1028, 1035-38 (9th Cir. 2008) (holding that residency requirement for petition
 6   circulators was not narrowly tailored because more tailored alternative of “requiring
 7   petition circulators to agree to submit to jurisdiction for purposes of subpoena
 8   enforcement” was available).
 9             At least five alternatives are readily available that could be employed to deter county
10   malfeasance while enfranchising voters, rather than resorting to disenfranchising faultless
11   voters.
12             First, the Secretary could certify the unofficial vote count provided by the county
13   recorders. See supra at 2 (explaining how county recorders are responsible for tabulating
14   votes and sending those unofficial county election returns to their respective county board
15   of supervisors). Put simply, the Secretary could cut out the middle-man (the county board)
16   and certify the returns from the county recorder. This would not require disenfranchising a
17   single voter in the offending county.
18             Second, the Secretary could seek to mandamus a county Board of Supervisors that
19   failed to perform its non-discretionary duty to canvas. In Arizona, county Boards of
20   Supervisors have a non-discretionary duty to canvass the primary and general elections
21   within a specific timeframe after those elections. A.R.S. § 16-642(A)(1)(a)–(b). The EPM
22   further provides expressly that “[t]he Board of Supervisors has a non-discretionary duty to
23   canvass the returns.” EPM at 248.
24             Mandamus actions and special actions (which are essentially the codified procedure
25   for seeking mandamus) exist to compel government officials to perform their non-
26   discretionary duties. See Arizonans for Second Chances, Rehab., & Pub. Safety v. Hobbs,
27   249 Ariz. 396, 404 ¶ 16 (2020) (explaining that “[a]n action is in the nature of mandamus
28   if it seeks to compel a public official to perform a non-discretionary duty imposed by law,”


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 1   and that Special Action “Rule 3(a) ‘sets forth the traditional functions of the writ of
 2   mandamus’” (citations omitted)). And such actions are not only available for election
 3   related duties, but are commonplace for them. See, e.g., id. (considering a mandamus action
 4   in the election context); Arizona Pub. Integrity All. v. Fontes, 250 Ariz. 58, 62 ¶¶ 11–12,
 5   64–65 ¶ 27 (2020) (granting mandamus relief against then-Recorder Fontes for violation
 6   of the EPM and Arizona statutes). Therefore, the Secretary already has a narrowly tailored
 7   way to compel a county board to perform its duty—mandamus the offending board.
 8          Third, the Secretary could seek for a court to resolve any dispute over vote counts.
 9   He could thus file an action against the Board of Supervisors at issue and seek a declaratory
10   judgment from the court as to the correct election results. This too would have been more
11   narrowly tailored than the Vote Nullification Provision’s disenfranchisement of the voters
12   of an entire county.
13          Fourth, and relatedly, a court could provide for the appointment of an auditor or
14   special master to certify the vote totals for a county that fails to do so. Such a mechanism
15   is used in similar election contexts. For example, when a hand-count audit results in an
16   expanded audit that encompasses all precincts in a given county, Arizona law requires that
17   a superior court appoint a “special master to review the computer software” for the
18   tabulations machines in that county. See A.R.S. § 16-602(J). The appointment of a special
19   master would be yet another more narrowly tailored way to remedy the actions of a rogue
20   county.
21          Fifth, the Secretary could refer an offending Board of Supervisors to the Attorney
22   General for prosecution, or the Attorney General could initiate prosecution herself.
23   Violations of the EPM are a class 2 misdemeanor. A.R.S. § 16-452(C). And Boards of
24   Supervisors are required by the EPM, at pp. 247–49—and statute, A.R.S. § 16-642(A)(1)—
25   to canvass election results within a certain time after an election. See also A.R.S. § 16-1010
26   (“A person charged with performance of any duty under any law relating to elections who
27   knowingly refuses to perform such duty, or who, in his official capacity, knowingly acts in
28   violation of any provision of such law, is guilty of a class 6 felony unless a different


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 1   punishment for such act or omission is prescribed by law.”).
 2          Moreover, the Secretary may make criminal referrals for any board (or board
 3   member) that fails to fulfill this duty, and the Attorney General has authority to prosecute
 4   the same. See A.R.S. § 16-1021. Indeed, the Attorney General is currently prosecuting
 5   members of the Cochise County Board of Supervisors for their failure (or delay) in
 6   canvassing elections results. See supra at 2–3. Once again, criminal prosecution of bad-
 7   faith actors would be more narrowly tailored than the Vote Nullification Provision because
 8   it would not involve disenfranchising a single voter.
 9          The Vote Nullification Provision’s remedy is thus wildly disproportionate to the
10   problem it attempts to solve and gratuitous in its resort to disenfranchisement to “cure” the
11   problem. That disproportionality and gratuitousness is particularly apparent when it is
12   compared to the non-disenfranchising alternatives available to the Secretary, which are
13   both numerous and obvious.
14          Additionally, the lack of narrow tailoring is evident from the perverse incentives
15   that the Vote Nullification Provision creates. Take, for example, a self-interested county
16   Board of Supervisors where all supervisors just lost their respective reelection bids. Such
17   a board members could refuse to canvass the election that they just lost, thereby compelling
18   the Secretary to canvass the official election results without that county. The result? Those
19   board seats would remain technically vacant because no winner was declared, and the
20   malfeasant board would appoint someone to fill the vacant seats. And who better to fill
21   those vacant seats than the current board members? In short, the Vote Nullification
22   provision allows a Board of Supervisors to operate in perpetuity, regardless of elections
23   results.
24          Likewise, a Board of Supervisors could thwart not just a county-level election, but
25   a national one. Assume that the 2024 Presidential Election came down to winning Arizona.
26   Assume further that Vice President Harris won Arizona and, thereby, the Presidency. In
27   such a scenario, the Maricopa County Board of Supervisors could refuse to canvass the
28   election result for Maricopa—where a large portion of Arizona’s Democrat voters live and


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 1   vote. With Maricopa voters’ voters nullified, Arizona could flip from blue to red, and
 2   former President Trump wins the state and, consequently, the Presidency. All this requires
 3   is a quorum of politically enterprising supervisors, and the current mandatory operation of
 4   the Vote Nullification Provision.
 5            Or take a more morbid scenario, involving harm to election officials by extreme
 6   factions to achieve their political ends. The recent assassination attempt on former
 7   President Trump illustrates the dangers here. Notably, the complete disenfranchisement of
 8   all 2.4 million registered active voters in Maricopa County can be accomplished through
 9   elimination by kidnapping (or more fatal means) of just three members of the Maricopa
10   Board of Supervisors.
11            By ensuring that unlawful actions against supervisors will be effective in
12   disenfranchising voters as long as they successfully eliminate a quorum necessary to certify
13   election results, the Vote Nullification Provision is not narrowly tailored to serve its
14   putative ends. Instead, it actively thwarts those ends.
15   III.     THE REMAINING REQUIREMENTS FOR INJUNCTIVE RELIEF ARE SATISFIED
16            A. Plaintiffs Are Likely To Suffer Irreparable Harm Absent An Injunction

17            As set forth above, the Vote Nullification Provision is inflicting current and ongoing
18   injury by unconstitutionally degrading the right to vote of Plaintiffs and their members.
19   Supra §I.C. That alone establishes irreparable harm. See, e.g., Touchston v. McDermott,
20   234 F.3d 1133, 1158–59 (11th Cir. 2000) (“[B]y finding an abridgement to the voters’
21   constitutional right to vote, irreparable harm is presumed and no further showing of injury
22   need be made.”); Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (“A
23   restriction on the fundamental right to vote therefore constitutes irreparable injury.”).
24            More generally, it is “well established that the deprivation of constitutional rights
25   ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002
26   (9th Cir. 2012) (citation omitted).       Indeed, “[c]ourts routinely deem restrictions on
27   fundamental voting rights irreparable injury.” League of Women Voters of N.C. v. North
28   Carolina, 769 F.3d 224, 247 (4th Cir. 2014). An injunction here would thus prevent


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 1   irreparable harm to Plaintiffs’ constitutional rights.
 2          B. The Balance of Harms and Public Interest Support Injunctive Relief
 3          Because the defendants are governmental officials, the final two Winter factors
 4   merge here. Baird, 81 F.4th at 1040. And both support this request. See id. at 1042 (“A
 5   plaintiff's likelihood of success on the merits of a constitutional claim also tips the merged
 6   third and fourth factors decisively in his favor.”).
 7          As a general matter, “[t]he public interest and the balance of equities favor
 8   prevent[ing] the violation of a party’s constitutional rights.’” Ariz. Dream Act Coal. v.
 9   Brewer, 855 F.3d 957, 978 (9th Cir. 2017) (quoting Melendres, 695 F.3d at 1002). This is
10   particularly so where voting rights are at issue because “[t]he public has a ‘strong interest
11   in exercising the fundamental right to vote.’” League of Women Voters of N.C., 769 F.3d
12   at 248 (quoting Purcell v. Gonzalez, 549 U.S. 1, 4 (2006)). The potential mass
13   disenfranchisement that the Vote Nullification Provision threatens to effectuate is thus not
14   in the public interest, but an injunction against that outcome is.
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 1                                       CONCLUSION
 2         The Court should grant a preliminary injunction prohibiting Defendants from
 3   implementing or enforcing the Vote Nullification Provision and directing them to
 4   promulgate an updated EPM that eliminates the constitutional infirmities.
 5         Dated this 2nd day of August 2024.
 6
                                              HOLTZMAN VOGEL BARAN
 7                                            TORCHINSKY & JOSEFIAK PLLC
 8                                            By: /s/ Andrew Gould
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 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on this 2nd day of August 2024, I electronically filed the
 3   foregoing with the Clerk of the Court for the United States District Court for the District of
 4   Arizona using the CM/ECF filing system. Counsel for parties that are registered CM/ECF
 5   users will be served by the CM/ECF system pursuant to the notice of electronic filing.
 6
 7                                             /s/ Andrew Gould
                                               Attorney for Plaintiffs
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